Case 4:20-cv-00047-TWP-DML Document 25 Filed 07/28/20 Page 1 of 2 PageID #: 104




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA

 CAROL GARCIA,                                 )
                                               )
        Plaintiff,                             )
                                               )
 vs.                                           )      CASE NO. 4:20-cv-0047-TWP-DML
                                               )
 HEALTHCARE REVENUE COMPANY                    )
 GROUP, LLC ET AL.                             )
                                               )
        Defendants.                            )


                                    JOINT STATUS REPORT


        Comes the Plaintiff, Carol Garcia, by the undersigned counsel, David W. Hemminger, and

 Defendants, Healthcare Revenue Company Group, LLC (“HRCG”) by the undersigned counsel,

 Paul Gamboa, and Experian Information Solutions, Inc. (“Experian”) by the undersigned counsel,

 Ani Ghazikhanian, and hereby advise the Court that HRCG has propounded written discovery to

 the Plaintiff to which Plaintiff will respond on or before August 21, 2020. Plaintiff and Experian

 intend to timely propound written discovery such that responses will be due prior to the February

 19, 2021 discovery deadline. Finally, although the parties expect to resolve this matter in the near

 future, the parties believe that January 2021 would be the appropriate time frame for a settlement

 conference.

                                               Respectfully submitted,
                                               /s/David W. Hemminger
                                               David W. Hemminger
                                               Hemminger Law Office, PSC
                                               331 Townepark Circle, Ste. 100-C
                                               Louisville, KY 40243
                                               (Tel) 502.443.1060
                                               (Fax) 502.873.5300
                                               hemmingerlawoffice@gmail.com
                                               Counsel for Plaintiff
Case 4:20-cv-00047-TWP-DML Document 25 Filed 07/28/20 Page 2 of 2 PageID #: 105




                                    SEEN AND AGREED TO BY:

                                    /s/Paul Gamboa (with permission)
                                    Paul Gamboa
                                    GORDON & REES LLP
                                    One North Franklin
                                    Suite 800
                                    Chicago, IL 60606
                                    (312) 565-1400
                                    Fax: (312) 565-6511
                                    Email: pgamboa@gordonrees.com
                                    Counsel for Defendant, Healthcare Revenue
                                    Company Group, LLC


                                    And

                                    /s/Ani Ghazikhanian (with permission)
                                    Ani Ghazikhanian
                                    JONES DAY
                                    3161 Michelson Dr.
                                    Suite 800
                                    Irvine, CA
                                    949 553-7562
                                    Fax: 949 553-7539
                                    Email: aghazikhanian@jonesday.com
                                    Counsel for Defendant, Experian Information
                                    Solutions, Inc.




                                       2
